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     Attorney for Defendant, EDUARDO AUGUSTINE VAZQUEZ
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6
                                         UNITED STATES DISTRICT COURT
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8                                       EASTERN DISTRICT OF CALIFORNIA

9                                                        *****
10                                      )
     UNITED STATES OF AMERICA,          ) CASE NO. 10-71 AWI
11                                      )
         Plaintiff,                     ) AMENDED STIPULATION TO CONTINUE
12                                      ) SENTENCING HEARING; ORDER
     vs.                                )
13                                      ) SCHED. DATE: October 12, 2010
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     EDUARDO AUGUSTINE VAZQUEZ, et al., ) REQT. DATE: November 1, 2010
                                        )
          Defendant.                    ) TIME: 9:00 A.M.
15                                      ) JUDGE: Hon. Anthony W. Ishii
     _________________________________________________
16            IT IS HEREBY STIPULATED between the parties, by and through counsel for the
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     government, Kathleen Servatius, and Joan Jacobs Levie, counsel for Defendant EDUARDO
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     AUGUSTINE VAZQUEZ, that the date for the sentencing hearing, October 12, 2010 at 9:00 a.m. be
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     continued until November 1, 2010 at 9:00 a.m. in the above-entitled court.             The continuance is

21   necessary for the parties to complete conditions of the anticipated government sentencing
22   recommendation and for the defendant to fulfill his safety valve and other requirements.
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     Dated: October 8, 2010                              Respectfully submitted,
24
                                                          /S/ Joan Jacobs Levie
25                                                       JOAN JACOBS LEVIE
                                                          Attorney for Defendant
26                                                       EDUARDO AUGUSTINE VAZQUEZ
27
                                                          /S/ Kathleen Servatius
28                                                       KATHLEEN SERVATIUS
                                                         Assistant United States Attorney
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1                                                                *****
2
                                                                    ORDER
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                               Having read the stipulation of counsel and finding good cause,
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                               IT IS HEREBY ORDERED that the date of the sentencing hearing will be continued in
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     accordance with the above stipulation of counsel. The defendant is ordered to return to court for
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7    further proceedings on November 1, 2010 at 9:00 a.m.

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11   IT IS SO ORDERED.
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     Dated:                     October 8, 2010
13   DEAC_Signature-END:
                                                            CHIEF UNITED STATES DISTRICT JUDGE

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